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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:24-cr-___________________
                                                              60-MO

               v.                                    INFORMATION

FERNANDO ISRAEL URRUTIA ARCE,                        21 U.S.C. §§ 331(c), 333(a)(1)

               Defendant.

                     THE UNITED STATES ATTORNEY CHARGES:

                                         COUNT 1
            (Interstate Receipt and Sale of Adulterated and Misbranded Drugs)
                                 (21 U.S.C. §§ 331(c), 333(a)(1))

       On multiple dates beginning not later than January 1, 2019, and continuing through at

least December 2022, in the District of Oregon and elsewhere, defendant FERNANDO

ISRAEL URRUTIA ARCE received in interstate commerce new animal drugs, including Pit

Cobra-branded Amoxicillin and the Battlecock-branded drugs Wormal and Premoxil, which

were adulterated as defined by 21 U.S.C. § 351(a)(5) and misbranded as defined by 21 U.S.C.

§ 352(f)(1), and proffered the delivery thereof for pay and otherwise.

       All in violation of Title 21, United States Code, Sections 331(c) and 333(a)(1).

Dated: February 20, 2024                             Respectfully submitted,

                                                     NATALIE WIGHT
                                                     United States Attorney

                                                     /s/ Ryan W. Bounds
                                                     RYAN W. BOUNDS, OSB #000129
                                                     Assistant United States Attorney

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